                         Case 11-19363         Doc 30      Filed 09/08/11       Page 1 of 1
Form fnldec (10/05)


                              UNITED STATES BANKRUPTCY COURT
                                       District of Maryland
                                                 Greenbelt Division
                                           6500 Cherrywood Lane, Ste. 300
                                                Greenbelt, MD 20770

                                       Case No.: 11−19363          Chapter: 7

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):

   Judia Fay Herrington
   debtor has no known aliases
   4721 Quadrant Street
   Capitol Heights, MD 20743
   Social Security No.: xxx−xx−5593
   Employer's Tax I.D. No.:

 Petition for Relief under Chapter 7 of Title 11, U.S. Code, filed by or against the above−named Debtor(s) on 5/4/11



                                                FINAL DECREE

The estate of the above−named debtor(s) has been fully administered.


IT IS ORDERED THAT:

Merrill Cohen is discharged as trustee of the estate of the above−named debtor; and the chapter 7 case of the above
named debtor is closed.


Dated: 9/8/11

                                                            Wendelin I. Lipp
                                                            U.S. Bankruptcy Judge
